                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TENNESSEE
                            KNOXVILLE DIVISION

 SHELIA FAY DYER                        )
                                        )
       Plaintiff                        )
                                        ) CIVIL ACTION FILE NUMBER
 v.                                     )
                                        ) 3:13-CV-0209 Varlan/Guyton
 HARTFORD LIFE AND                      )
 ACCIDENT INSURANCE                     )
 COMPANY                                )
                                        )
       Defendant                        )

             STIPULATION OF DISMISSAL WITH PREJUDICE

       Now come plaintiff SHEILA FAY DYER and defendant HARTFORD LIFE

 AND ACCIDENT INSURANCE COMPANY, through their respective attorneys

 of record, and stipulate that the above-styled action shall be and the same hereby is

 dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(ii). Each party shall

 bear her/its own costs and expenses of litigation.

       This 10th day of September, 2013.




                           [signatures on following page]




Case 3:13-cv-00209-TAV-HBG Document 10 Filed 09/10/13 Page 1 of 2 PageID #: 37
 s/ John P. Dreiser                 s/ Elizabeth J. Bondurant
 John P. Dreiser                    Elizabeth J. Bondurant
 BPR# 020743                        Georgia Bar No. 066690
 s/ Tony Farmer                     [admitted EDTN April 17, 2009]
 Tony Farmer                        s/ Nikole M. Crow
 BPR# 1865                          Nikole M. Crow
                                    Georgia Bar No. 198359
                                    [admitted EDTN April 17, 2009]

 Attorneys for Plaintiff            Attorneys for Hartford Life and Accident
                                    Insurance Company

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Case 3:13-cv-00209-TAV-HBG Document 10 Filed 09/10/13 Page 2 of 2 PageID #: 38
